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                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


DONNA POPLAR,

             Plaintiff,

v.                                            CIVIL ACTION NO: 4:21-cv-12568

GENESEE COUNTY ROAD
COMMISSION,

        Defendants.




                          COMPLAINT AND JURY DEMAND

      Plaintiff Donna Poplar, files this Original Complaint against Defendants

Genesee County Road Commission (“GCRC”) and respectfully states the

following:

                                    PARTIES


 1.   Plaintiff is a resident of the United States and resides in Genesee County,

      Michigan within the Eastern District of Michigan.




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2.   Defendant Genesee County Road Commission (“Defendant” or “GCRC”) is

     a Michigan municipal corporation doing business in the City of Flint,

     Genesee County, Michigan within the Eastern District of Michigan.

3.   The discriminatory employment practices and all other acts alleged in this

     Complaint occurred within the Eastern District of Michigan.

4.   Defendant is an employer and Plaintiff is its employee within the meaning of

     the Civil Rights Act of 1964, as amended 2001, 42 U.S.C. § 2000e, et seq.

     (Title VII), and the Elliott-Larsen Civil Rights Act, MCLA 37.2101, et seq.

     (“ELCRA”).

5.   This Court has jurisdiction over the subject matter of this action under 28

     U.S.C. § 1331 because it arises under the laws of the United States,

     specifically, 28 U.S.C.A. § 1331, and 28 U.S.C.A. § 1343(a)(4) (jurisdiction

     over civil rights claims), Civil Rights Act of 1964 ("Title VII"), 42 U.S.C.A.

     § 2000e, et seq., 42 U.S.C. § 1981.

6.   This Court also has supplemental jurisdiction pursuant to 28 U.S.C.A.

     §1367 over Plaintiff’s state law claims Michigan's Elliott-Larsen Civil

     Rights Act (the "ELCRA"), M.C.L.A. § 37.1101, et seq.,




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 7.   Venue is proper in the Eastern District of Michigan 28 U.S.C.A. § 1391(b)

      and (c).

 8.   The matter in controversy exceeds $100,000.00, exclusive of costs, interest

      and attorney fees.

 9.   Plaintiff filed a timely charge of discrimination with the Equal Employment

      Opportunity Commission (“EEOC”) alleging continued discrimination on

      the basis of her race retaliation, differential treatment, and hostile work

      environment against Defendant’s Managing supervisor.

10.   Plaintiff’s notice of right to sue was received electronically on August 5,

      2021, and she has filed this complaint within 90 days of receiving her notice

      of rights.


                           GENERAL ALLEGATIONS


11.   Plaintiff incorporates by reference herein the allegations contained in the

      foregoing paragraphs.

12.   Plaintiff is an African-American woman. Plaintiff earned a Master of

      Science Administration with a concentration in Human Resources in 1987

      from Central Michigan University located in Mt. Pleasant, Michigan.


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13.   Plaintiff commenced her employment with Defendant as its Director of

      Human Resources and Administrative Services on or about November 13,

      2016.

14.   Since September 6th, 2021 Plaintiff has been placed on administrative leave

      by the Defendant’s Managing Director Mr. Fred Peivandi (“Mr. Peivandi”),

      her supervisor because she filed a retaliation complaint against him with

      Defendant.

15.   At all times relevant hereto, Plaintiff performed her job diligently and

      competently as a Senior Professional. Giving undeniable performance and

      contribution to the Defendant.

16.   Under Plaintiff’s leadership as the HR Director, she initiated numerous cost

      saving initiatives resulting in more than $300,000 in yearly savings, to the

      Defendants’ Operation.

17.   Under Plaintiffs leadership, HR initiated the most recent revision of the

      GCRC work rule book; the work rule book had not been revised in 43 years.

18.   At all relevant times, Plaintiff was an employee, and Defendant was her

      employer, covered by and within the meaning of Title VII and the ELCRA.




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                                       COUNT I

      DISCRIMINATION IN VIOLATION OF TITLE VII AND ELCRA

19.   Plaintiff incorporates by reference herein the allegations contained in the

      foregoing paragraphs.

20.   A plaintiff may show discrimination by direct evidence, or a plaintiff lacking

      direct evidence of discrimination may succeed on a Title VII claim by

      presenting indirect evidence under the framework first set forth in

      McDonnell Douglas Corp v. Green, S. 792, 802–03, 93 S.Ct. 1817, 36

      L.Ed.2d 668 (1973).

21.   Plaintiff was suspended then retaliated against because she filed a complaint

      about her treatment at Defendant. When Caucasian individuals filed

      complaints at Defendant they were not suspended or placed on

      administrative leave.

22.   There have been several complaints and lawsuits filed by African-Americans

      who work for Defendant currently. Defendant’s Mateninance Director

      Anthony Branch (Black, Male) has a current Hiring Discrimination case

      against Defendant. Plaintiff was Deposed in the lawsuit and was admonished

      by Mr. Peivandi as a result of her testimony.


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23.   Plaintiff reported being admonished for her deposition testimony by Mr.

      Peivandi and Defendant failed to take corrective action.

24.   Plaintiff was on a double-edged sword as an African-American and the HR

      Director; experiencing discrimination herself and trying to prevent others

      from experiencing it.

25.   This would come to be known as a “Turf war” with the Defendant’s

      Managing Director, Mr. Peivandi. Intentional Racism was the true meaning

      of the “Turf war”.

26.   Plaintiff filed this lawsuit because Defendant continues to retaliate against

      her, i.e., current administrative leave for filing her complaint against Mr.

      Peivandi.

27.   In 2019, Mr. Peivandi requested HR to provide him with a list of employees

      by name and race. When questioned about the list, Mr. Peivandi could not

      provide a viable answer as to why he needed the requested list.

28.   This matter was brought to the Defendant’s attention by the Plaintiff and

      questions were raised by a Genesee County Commissioner who became aware

      of the matter. Plaintiff witnessed Mr. Peivandi referring to the requested list

      when making disciplinary decisions.


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29.   Defendant did nothing and failed to take corrective action concerning this

      matter.

30.   Members of the community spoke at public comment. Defendant never

      addressed Mr. Peivandi’s behavior regarding this matter and failed to take

      corrective action.

31.   Plaintiff filed an internal Complaint of Discrimination against Mr. Peivandi

      to Defendant on January 28, 2021 in accordance with Defendant’s Complaint.

32.   Defendant Commissioners and Mr. Peivandi provided Plaintiff with a copy of

      findings from the Investigator on or about June 27, 2021 and the letter was

      dated April 27, 2021. Defendant’s Investigator concluded his letter stating he

      believed the Problem to be characterized as a “Turf War” and a “Power

      struggle” and that Plaintiff leveraged her position as HR Director against Mr.

      Peivandi and that Plaintiff bore responsibility for it.

33.   The “Turf war” was Plaintiff using her 20 years of HR experience to help

      Defendant treat everyone equally, including herself as an African-American.




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                                      COUNT II

      RETALIATION IN VIOLATION OF TITLE VII AND ELCRA

34.   Plaintiff incorporates by reference the foregoing paragraphs as if fully set

      forth at length herein.

35.   Plaintiff repeatedly engaged in conduct protected under both Title VII and

      the ELCRA.

36.   On July, 1, 2021, Mr. Peivandi sent Plaintiff an email after the investigation

      results comprised of five directives to be used as a means of corrective action

      to her complaint against him.

37.   Subsequently, Plaintiff was subjected to an unmerited two-week suspension

      based on the alleged insubordination of one or more of the directives.

38.   Plaintiff filed a complaint with Defendant regarding her suspension against

      Peivandi in compliance with Defendant’s Complaints Policy. August 28th,

      2021 complaint of Retaliation with Defendant against Mr. Peivandi in

      accordance with the Defendants complaint policy.

39.   On September 6, 2021, Plaintiff was emailed she was put on Administrative

      Leave starting September 7, 2021 for filing an internal complaint of




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      harassment and retaliation against Mr. Peivandi with Defendant. Mr.

      Peivandi initiated this leave.

40.   Plaintiffs’ former co-worker, Director of Finance Coetta Adams (Caucasian

      woman), former Director of Finance filed a discrimination complaint against

      Peivandi on November 11, 2018. Director Adams was not put on

      administrative leave, while an investigation into her complaint was being

      conducted.

                        UNLAWFUL PAY DISCRIMINATION

41.   Plaintiff incorporates by reference the foregoing paragraphs as if fully set

      forth at length herein.

42.   The Plaintiff and Anthony Branch who have engaged in protected activity.

      received a 1%. Raise and 2% raise for the 2021-2022 budget passed by

      Defendant in September. This reflects large raises up to $15,000 in pay for

      the three Caucasian directors who have not engaged in protected activity.

43.   Defendant cannot justify these actions.




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                                COUNT III

       SECTION 1981 CLAIMS INTENTIONAL DISCRIMINATION

44.   Plaintiff incorporates by reference the foregoing paragraphs as if fully set

      forth at length herein.

45.   But for Plaintiff being black, she would not have been treated as she was and

      suspended and then placed on administrative leave for filing a complaint.

46.   But for Plaintiff being, she would have received higher than a 2% raise.

47.   Defendant continuously and intentionally discriminated against Plaintiff and

      other African-American’s because of their race.

48.   In 2013, Defendant employee Kim Littles (African American woman) was

      denied a wage increase but her white female colleagues were given raises.

49.   In 2018, Hiring Discrimination Hiring Discrimination against Lamell Adam,

      an African American male. Lamell Adams was interviewed for Defendant’s

      newly created Service Resolution Coordinator position early January 2018.

      Adams was interviewed and selected for the position. Adams was officially

      offered the position. Defendants denied him and rescinded the offer made to

      Adams.




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                                 RELIEF REQUESTED

 For all of the foregoing reasons, Plaintiff demands judgment against Defendant as

follows:

   1. Plaintiffs Return to work; Defendant to create a Diversity, Equity and

      Inclusion plan for all employees to combat Systemic Racism at Defendant.

   2. Attorney’s fees and court costs;

   3. Compensatory damages in whatever amount she is found to be entitled.

   4. Exemplary and punitive damages in whatever amount she is found to be

      entitled.

   5. All other relief to which she is entitled.

      Respectfully submitted,


                              Lee Legal Group, PLLC




                              ________________________
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                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN



DONNA POPLAR,

         Plaintiff,

v.                                       CIVIL ACTION NO: 4:21-cv-12568

GENESEE COUNTY ROAD
COMMISSION,

        Defendants.
                             JURY DEMAND


         Plaintiff, DONNA POPLAR demands a jury trial on all issues.

                             Respectfully submitted,

                          Lee Legal Group, PLLC




                          ________________________
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